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                                   6761




                       EXHIBIT L
       Case 3:17-cv-00072-NKM-JCH Document 566-12 Filed 09/26/19 Page 2 of 4 Pageid#:
                                          6762




From: Ken Kim
Sent: Thursday, September 5, 2019 12:16 PM
To: Barbara Bibas <bbibas@idsinc.com>; Eli Mosley <eli.f.mosley@gmail.com>
Cc: iDS_SINKS‐02678 <ids_sinks‐02678@idsinc.com>
Subject: RE: Sines v Kessler Kline Discovery

Mr. Kline:

We received a package last week from a “Bruce Kline” containing a mobile device. Can you please confirm that this is
your device that you shipped for collections? And, if so, can you please provide the passcode and iTunes password as
well?

Thank you,
Ken

Kenneth Kim
Project Manager
iDiscovery Solutions
Mobile: 267.847.4876




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https://www.chambersandpartners.com/12788/2817/editorial/58/1#22770855_editorial
      Case 3:17-cv-00072-NKM-JCH Document 566-12 Filed 09/26/19 Page 3 of 4 Pageid#:
                                         6763
From: Barbara Bibas <bbibas@idsinc.com>
Sent: Friday, August 9, 2019 1:17 PM
To: Eli Mosley <eli.f.mosley@gmail.com>
Cc: iDS_SINKS‐02678 <ids_sinks‐02678@idsinc.com>
Subject: RE: Sines v Kessler Kline Discovery

Hello Mr. Kline,

Thank you for providing your Exhibit A to the Court’s Stipulation and Order. I’ve attached it above for your reference.

Would you please assist us by confirming or correcting the spelling of your accounts in the below chart and also by
providing passwords where indicated in the highlighted cells? We would also like to know the make and model of the
computer.

 Platform/Device              Username                        Password
 Facebook                     Elliott Kline
 Gab.ai                       @EliMosley
 Twitter                      @thatelimosley
 Twitter                      @NotElimosley
 Twitter                      @Elimosleyie
 Twitter                      @Eli_mosley_
 Twitter                      @Sheli_shmosley
 Twitter                      @EliMosley
 Twitter                      @EliMosleyISBack
 Twitter                      @EliMosleyOff
 iPhone 5
 Broken PC


In order to collect from the mobile device and computer, we ask that you ship them to our office in Washington,
DC. You may send them to Ken Kim’s attention at the following address for delivery M – F during regular business
hours. We recommend that you obtain a tracking number when sending the devices.

         iDiscovery Solutions
         ATTN: Ken Kim
         3000 K Street NW, Suite 330
         Washington, DC 20007
         Phone: 202.249.7860

Please let us know if you have any questions.

Thank you,
Barbara
‐‐‐‐
Barbara Bibas
Project Assistant
       Case 3:17-cv-00072-NKM-JCH Document 566-12 Filed 09/26/19 Page 4 of 4 Pageid#:
                                          6764
Direct: 714.581.4830




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From: Ken Kim <kkim@idsinc.com>
Sent: Friday, August 9, 2019 10:03 AM
To: Eli Mosley <eli.f.mosley@gmail.com>
Cc: Barbara Bibas <bbibas@idsinc.com>
Subject: RE: Sines v Kessler Kline Discovery

Mr. Kline:

Thank you for your email. I have copied my colleague Barbara Bibas who will be working with you to gather the
necessary information to proceed with the collections.

Regards,
Ken

Kenneth Kim
Project Manager
Mobile: 267.847.4876




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From: Eli Mosley <eli.f.mosley@gmail.com>
Sent: Friday, August 9, 2019 12:58 PM
To: Ken Kim <kkim@idsinc.com>
Subject: Sines v Kessler Kline Discovery


[EXTERNAL SENDER]

Hello Ken,

I am reaching out to you so that I may get my phone imaged for the discovery for the case. What steps must I take to get
you guys the phone in a timely manner?
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sender. If you have received this communication in error, please notify the sender immediately by reply e-mail
and promptly destroy all electronic and printed copies of this communication and any attached documents.
